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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF TEXAS
                              VICTORIA DIVISION
__________________________________________
                                           )
STATE OF TEXAS, STATE OF                   )
LOUISIANA                                  )
                                           )
                        Plaintiffs,        )
      v.                                   )  No. 6:21-cv-00016
                                          )
UNITED STATES OF AMERICA, et al.          )
                                          )
                        Defendants.       )
__________________________________________)

                    NOTICE OF NEW ENFORCEMENT PRIORITIES

        Defendants provide notice of the attached guidance issued by the Secretary of Homeland

Security for the apprehension and removal of noncitizens. See Guidelines for the Enforcement of

Civil Immigration Law (Sept. 30, 2021), attached. Upon its effective date, set for November 29,

2021, the Guidelines for the Enforcement of Civil Immigration Law will serve to rescind (1) the

January 20, 2021 Interim Revision to Civil Immigration Enforcement and Removal Policies and

Priorities issued by then-Acting Secretary David Pekoske, and (2) the Interim Guidance: Civil

Immigration Enforcement and Removal Priorities issued by Acting ICE Director Tae D. Johnson.

Id. at 6.



Date: September 30, 2021                   Respectfully submitted.

                                           BRIAN M. BOYNTON
                                           Acting Assistant Attorney General

                                           BRIGHAM J. BOWEN
                                           Assistant Branch Director

                                           /s/ Adam Kirschner
                                           ADAM D. KIRSCHNER

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                             CERTIFICATE OF COMPLIANCE
       I certify that the total number of words in this motion, exclusive of the matters designated

for omission, is 100, as counted by Microsoft Word.


                                             /s/ Adam Kirschner
                                             ADAM D. KIRSCHNER



                                CERTIFICATE OF SERVICE
       I certify that a true and accurate copy of the foregoing document was filed electronically

(via CM/ECF) on September 30, 2021.


                                             /s/ Adam Kirschner
                                             ADAM D. KIRSCHNER




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